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Alexi Ehrlich

From: Victor Sean of Dennison, trust protector <seandennison4@gmail.com>

Sent: Saturday, June 3, 2023 11:56 AM

To: Akpan, Ubong (FD)

Ce: Alexi Ehrlich; Sofia Kollaian; brendan.ballou-kelley@usdoj.gov;
elizabeth.eriksen@usdoj.gov

Subject: Re: USA v. Dennison (23-cr-32) - trial on Monday

Attachments: IMG_4664 jpeg; IMG_4839.jpeg

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CAUTION - EXTERNAL: res

Victor Sean of the house and lineage of Dennison
Child of God
Grantor of Original Jurisdiction and Beneficiary of The Resultant Trust
American Freeman

America Republic

Everything is Trust and there is nothing that is not Trust.
No Trust can fail for want of a Trustee.

The primary responsibility of the Trustee is to protect and defend the Trust.

Dear Ubong,

I need to ask you, How can Judge McFadden lawfully issue forth a bench warrant after the court has already
received, obtained and has custody of the surrendered legal person? And wouldn’t any actions against the trust be a
war crime? Are you trying to compel the beneficiary to put his life in danger?

I, beneficiary, do not understand your communication nor the language within your letter.

I do not recognize the title of “Mr.” This is a contentious point to me because I can’t tell you how many times I have
mentioned this to you all. Yet somehow you all keep doing it! Another important point, you, Ubong, and I, Victor
Sean of Dennison, have no valid contract. You cannot represent a living man. I’m a living man. An attorney can
only represent the dead. When you use the words “you” and “your” are you referring to a dead entity? Are you
trying to summon the dead? Or do you mean the living breathing man? The reason I ask is, the court has already
recognized that I am the living breathing man. So please clarify. Please see attached image which evidences this
point.
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And with crime rampant and all new highest ever crime stats in the District of Columbia, The DA of District of
Columbia, Matthew W. Graves, continues to choose to pursue only J6ers, stating he wants another 1000 charged and
arrested, meanwhile the people of DC suffer highest crime rates ever due to Matthew W. Graves’ politically charged
passion project which is not rooted in seeking justice or lawfulness. He is in collusion with enemies of the American
people which is treason. Yet he goes unchecked? BLM and ANTIFA get free reign to burn cities down and they had
a track record of showing up at every other conservative political event and Trump rally but by the grace of God,
those groups didn’t show up at all on J6. Or did they? I suspect they were there disguised as Trump supporters with
intention to instigate violence and have it appear as if it was Trump supporters.

Let it be known the Provost Marshal has been noticed. Please be advised. Ethics must go in regarding this

matter! Our founding fathers warned that it might come down to We The People, now here I stand putting ethics in
on the foreign court system. But we must put ethics in on this court and this planet! Once ethics goes out, it
becomes the swan song of a dying culture.

If I do not hear from you in response to this email in specificity to the questions asked under sworn penalty of
perjury with supporting fact, law and evidence as well then all of you who have been noticed by this email agree that
everything I state in this email / letter is true and factual and it stands.

Good day,

Victor Sean of Dennison trust protector
On Fri, Jun 2, 2023 at 11:46 AM Ubong Akpan <Ubong Akpan@fd.org> wrote:

Good morning, Mr. Dennison,

| received your email address from Judge McFadden’s law clerk. As standby counsel, |! must inform you that you must
appear for trial on Monday, June 5" at 9:00 am, at the U.S. District Court for the District of Columbia in Judge
McFadden’s courtroom. If you do not, the Judge can issue a bench warrant and you can then be arrested and detained

| pending trial. You also need to comply with the Pretrial Services Agency’s (PSA) requests. Please provide them with
your itinerary before you travel.

Thank you.

Sincerely,

Ubong E. Akpan
 

 

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